                          UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA

                              Tate, et al. v. United States

THE HONORABLE JOHN W. SEDWICK                                  3:14-cv-242 JWS


PROCEEDINGS:       ORDER FROM CHAMBERS           Date: June 13, 2017
_____________________________________________________________________

       The purpose of this order is to correct scrivener’s errors in the Order and Opinion
at docket 185.
       Paragraph 12 in the Conclusions of Law section is corrected to read as follows:


       12. Plaintiffs proved by a preponderance of the evidence that the value of the
first minor child M.T.’s non-economic damages is $38,500; that the value of the minor
child T.T.’s non-economic damages is $38,500; and that the value of the second minor
child M.T’s non-economic damages is $38,500.


       The direction to the Clerk for the entry of judgment is corrected to read as
follows:


                     IV. DIRECTION FOR ENTRY OF JUDGMENT
       The Clerk of Court is directed to enter judgment against defendant United States
of America such that William Tate and Susie Sours as Co-Guardians of Cynthia Tate
recover $3,612,315; that W illiam Tate and Susie Sours as Co-Guardians of the first
minor identified as M.T. recover $38,500, that William Tate and Susie Sours as Co-
Guardians of the minor T.T. recover $38,500; that William Tate and Susie Sours as Co-
Guardians of the second minor identified as M.T. recover $38,500; that William Tate
individually recover $77,000; and that Martha Hacker recover $38,500.
Dated this 12th day of June 2017.




           Case 3:14-cv-00242-JWS Document 186 Filed 06/13/17 Page 1 of 1
